      Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 1 of 31




                UNITED STATES DISTRICT COURT
              MIDDI-,E DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA : NO. 3:23-CR-26
                                        (Judge MANNION)

YUAMIR GRAYSON,                         (electronically flled)
                        Defendant.

                          PLEAAGREEI\{EI.IT

     The following Plea Agreement is entered by the United States

Attorney for the Midtlle District of Pennsylvania and the above-

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.

A ViolationG).           . and Diemissal of Other Counts

    1. Guiltv plea. The defendant agrees to plead guilty to Count 1 of
       the Indictment, which charges the defendant with a violation of

        Title 21, United States Code, $ 846(d, Conspiracy to Distribute

        Controlled Substances. The maximum penalty for that offense

        is imprisonment for a period of 20 years, a fine of $1,000,000, a

        maximum term of supervised release of life but a mirrimum of at

        least 3 years, which shall be served at the conclusion of, and in
Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 2 of 31




 addition to, any term of imprisonment, as well as the costs of

 prosecution, imprisonment, probation, or supervised release

 ordered, denial ofcertain federal benefits, and an assessment in

 the amount of $100. At the time the guilty plea is entered, the

 defendant shall admit to the Court that the defendant is, in fact,

 guilty ofthe offense(s) charged in that count. After sentencing,

 the United States wilI move for dismissal of any remaining

 counts ofthe Indictment. The defendant agrees, however, that

 the United States may, at its sole election, reinstate any

 dismissed charges, or seek additional charges, in the event that

 any guilty plea entered or sentence imposed pursuant to this

 Agreement is subsequently vacated, set aside, or invalidated by

 any court. The defendant further agrees to waive any defenses

 to reinstatement of any charges, or to the fi.Ling of additional

 charges, based upon laches, the assertion of speedy trial rights,

 any applicable statute of limitations, or any other ground. The

 cal.culation of time under the Speedy Trial Act for when trial

 must commence is tolled as of the date of the defendant's
                              2
  Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 3 of 31




   signing of this Agreement, until either (d the defendant pleads

   guilty; or (b) a new date is set by the Court for commencement

   of trial.

2. Term ofSune       e d Release. The defendant understands that


   the Court must impose at least a 3-year term of supervised

   release but up to a lifetime of supervised release in addition to

   any term of imprisonment, fine or assessment involving this

   violation ofthe Controlled Substances Act. The defendant also

   understands that the Court may impose a term of supervised

   release foliowing any sentence of imprisonment exceeding one

   year, or when required by statute. The Court may require a

   term ofsupervised release in any other case. In addition, the

   defendant understands that as a condition ofanv term of

   supervised release or probation, the Court must order that the

   defendant cooperate in the collection of a DNA sample if the

   collection of a sample is so authorized by law.

3. Maximum Sentence . The defendant understands that the total,
   maximum possible sentence for all charges is the combination of
                                r)
     Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 4 of 31




      penalties described abovei that is, 20 years in prison, fines

      totaling $1,000,000, a maximum lifetime of supervised release

      but at least 3 years, the costs ofprosecution, denial ofcertain

      federal benefrts and an assessment totaling $100.

   4. NoFurther Prosecution. Exceot Tax Charees . The United
      States Attorney's Office for the Middle District of Pennsylvania

      agrees that it will not bring any other criminal charges against

      the defendant directly arising out ofthe defendant's

      involvement in the offense(s) described above. However.

      nothing in this Agreement will limit prosecution for criminal tax

      charges, ifany, arising out ofthose offenses.

B. Fines andAseeegments
   5. Fine. The defendant understands that the Court may impose a
      fine pursuant to the Sentencing Reform Act of 1984. The willful

      failure to pay any fine imposed by the Court, in firll, may be

      considered a breach of this Plea Agreement. Further, the

      defendant acknowledges that wilIfrrl failure to pay the fine may

      subject the defendant to additional criminal violations and civil
                                   4
  Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 5 of 31




   penalties pursuant to Title 18, United States Code, S 3611, et

   seq.

6. Lumate Financial Responsibility Prosram. If the Court orders a
   fine or restitution as part ofthe defendant's sentence, and the

   sentence includes a term of imprisonment, the defendant agrees

   to voluntarily enter the United States Bureau of Prisons'

   administered program known as the Inmate Financial

   Responsibility Program, through which the Bureau of Prisons

   will collect up to 50% of the defendant's prison salary, and up to

   50% of the balance of the defendant's inmate account, and apply

   that amount on the defendant's behalf to the payment of the

   outstanding fine and restitution orders.

7. S ecial. Assessm nt. The defendant understands that the Court
   will impose a special assessment of $100, pursuant to the

   provisions of Title 18, United States Code, g 3013. No later

   than the date ofsentencing, the defendant or defendant's

   counsel shall mail a check in payment of the special assessment

   directly to the Clerk, United States District Court, Middle
                                5
  Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 6 of 31




    District of Pennsylvania. If the defendant intentionally fails to

    make this payment, that failure may be treated as a breach of

    this Plea Agreement and may result in further prosecution, the

    flling of additional criminal charges, or a contempt citation.

8. Collection of Financial Ob Iisations. In order to facilitate the
   collection of financial obligations imposed in connection with

   this case, the defendant consents and agrees:

    a   to fully disclose all assets in which the defendant has an

        interest or over which the defendant has control, directly or

        indirectly, including those held by a spouse, nominee, or

        other third party;

   b. to submit to interviews by the Government regarding the
        defendant's financial statusi

        to submit a complete, accurate, and truthfuI frnancial

        statement, on the form provided by the Government, to the

        United States Attorney's Office no later than 14 days

        following entry of the guilty pleai



                                 6
      Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 7 of 31




       d. whether represented by counsel or not, to consent to contact
           by and communication with the Government, and to waive

           any prohibition against communication with a represented

           party by the Government regarding the defendant's

           financial statusi

       e   to authorize the Government to obtain the defendant's

           credit reports in order to evaluate the defendant's ability to

           satisfr any fi.nancial obligations imposed by the Courti and

       f. to submit any financial information requested by the
           Probation Offi.ce as directed, and to the sharing of financial

           information between the Government and the Probation

           Office.

C. Sentencing Guidelines Calculation
   9. Dete rmination of Se ntencins Guid e lines. The defendant and
       counsel for both parties agree that the United States Sentencing

       Commission Guidelines, which took effect on November 1, 1982,

       and its amendments (the "Sentencing Guidelines"), will apply to

      the offense or offenses to which the defendant is pleading guilty.
                                    7
  Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 8 of 31




   The defendant understands that the Sentencing Guidelines are

   advisory and not binding on the Court. The defendant further

   agrees that any legal and factual issues relating to the

   application of the Sentencing Guidelines to the defendant's

   conduct, including facts to support any specific offense

   characteristic or other enhancement or adjustment and the

   appropriate sentence within the statutory maximums provided

   for by law, will be determined by the Court after briefing, a pre-

   sentence hearing, or a sentencilg hearing.

10. Acceotance of Responsibilitv- Tw         e L,evels. If the

   defendant can adequately demonstrate recognition and

   affirmative acceptance of responsibility to the Government as

   required by the Sentencing Guidelines, the Government will

   recommend that the defendant receive a two- or three-Ievel

   reduction in the defendant's offense level for acceptance of

   responsibility. The third level, if appJicable, shall be within the

   discretion of the Government under U.S.S.G. g 3E1.1. The



                                8
 Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 9 of 31




   failure of the Court to find that the defendant is entitled to a

   reduction shall not be a basis to void this Agreement.

11. Specific Sentencing Guidelines Recommendations. With respect

   to the application of the Sentencing Guidelines to the

   defendant's conduct, the parties agree to recommend as follows:

      a. For pulpos€B of the U.S.S.G., the parties agree
         that the defendant is responsible for the
         distribution of, and possession with intent to
         distf,ibute, at least 400 grams but less than 1.2
         kilograms grams of fentanyl, a Schedule II
         controlled substaJrce.

   Each party reserves the right to make whatever remainilg

   arguments it deems appropriate with regard to application of

   the United States Sentencing Commission Guidelines to the

   defendant's conduct. The defendant understands that any

   recommendations are not binding upon either the Court or the

   United States Probation Offrce, which may make different

   findings as to the application of the Sentencing Guidelines to

   the defendant's conduct. The defendant further understands

   that the United States will provide the Court and the United

                                  ct
 Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 10 of 31




    States Probation Office all information in its possession that it

    deems relevant to the application of the Sentencing Guidelines

   to the defendant's conduct.

12. Aooroori te Sentence Reco mmendation. At the time of

   sentencing, the United States may make a recommendation

   that it considers appropriate based upon the nature and

   circumstances of the case and the defendant's participation in

   the offense, and specifically reserves the right to recommend a

   sentence up to and including the maximum sentence of

   imprisonment and fine allowable, together with the cost of

   prosecution.

13. Snecial   onditions of Pro atiorVSup ervised Release. If

   probation or a term of supervised release is ordered, the United

   States may recommend that the Court impose one or more

   special conditions, including but not limited to the following:

   a   The defendant be prohibited from possessing a firearm or

       other dangerous weapon.



                                 10
Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 11 of 31




  b. The defendant make restitution, if applicable, the payment
      of which shall be in accordance with a schedule to be

      determined by the Court.

  c   The defendant pay any fine imposed in accordance with a

      schedule to be determined by the Court.

  d. The defendant be prohibited from incurring new credit
      charges or opening additional lines ofcredit without

      approval ofthe Probation Office unless the defendant is in

      compliance with the payment schedule.

  e   The defendant be directed to provide the Probation Office

      and the United States Attorney access to any requested

      financial information.

  f. The defendant be confined in a community treatment
      center, halfiray house, or similar facfity.

 g. The defendant be placed under home confi.nement.
 h. The defendant be ordered to perform community service.



                               11
 Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 12 of 31




   I    The defendant be restricted from working in certain types of

        occupations or with certain individuals if the Government

        deems such restrictions to be appropriate.

   j.   The defendant be directed to attend substance abuse

        counseling, which may include testing to determine whether

        the defendant is using drugs or alcohol.

   k. The defendant be directed to attend psychiatric or
        psychological counseling and treatment in a program

        approved by the Probation Officer.

   l. The defendant be denied certain federal benefits including
        contracts, grants, Ioans, fellowships, and licenses.

   m. The defendant be directed to pay any state or federal taxes
        and file any and all state and federal tax returns as

        required by law.

14. Destruction       rAMaivers    The defendant further agrees,

   should the United States deem it appropriate to the destruction

   of the items seized during the course of the investigation. The

   defendant agrees that the items may be destroyed by the
                                  t2
Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 13 of 31




  investigative agency with or without a court order authorizing

  the destruction of the items seized. If the United States

  determines that a destruction order should be obtained. the

  defendant and defendant's counsel hereby consur in a motion for

  such an order. The defendant further agrees to waive all

  interest in the assets in any administrative or juficial forfeiture

 proceeding, whether criminal or civil, state, or federal. The

  defendant consents and waives all rights to compliance by the

 United States with any applicable deadlines under 18 U.S.C. S

  983(d. Any related administrative claim filed by the defendant

 is hereby withdrawn. The defendant agrees to consent to the

 entry oforders offorfeiture for such property and waives the

 requirements of Federal Rules of Criminal Procedure 32.2 and

 43(d regarding notice ofthe forfeiture in the charging

 instrument, announcement of the forfeiture at sentencing, and

 incorporation of forfeiture in the judgment.




                              13
     Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 14 of 31




D. Victims'Rights and Restitution
   15. Victims' Riehts. The defendant understands that pursuant to

       the Victim and Witness Protection Act, the Crime Victims'

       Rights Act, the Justice for AII Act, and the regulations

       promulgated under those Acts by the Attorney General of the

       United States, crime victims have the following rights:

       a   The right to be reasonably protected from the accusedi

       b. The right to reasonable, accurate, and timely notice of any
           public court proceeding or any parole proceeding involving

           the crime, or of any release or escape of the accusedi

       c. The right not to be excluded from any such public court
           proceeding, unless the Court, after receiving clear and

           convincing evidence, determines that testimony by the

           victim would be altered materially if the victim heard other

           testimony at that proceedingi

       d. The right to be reasonably heard at any public hearing in
           the Court involving release, plea, sentencing, or any parole

           proceeding. The defendant understands that the victims'
                                   L4
Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 15 of 31




      comments and recommendations at any of these proceedings

      may be different than those of the parties to this

      Agreementi

  e   The reasonable right to confer with the attorney for the

      Government in the case. The defendant understands that

      the victims' opinions and recommendations given to the

      attorney for the Government may be different than those

      presented by the United States as a consequence ofthis

      Agreement,

  f. The right to fuII and timely restitution as provided for by
      law. The attorney for the Government is required to "fully

      advocate the rights of victims on the issue of restitution

      unless such advocacy would unduly prolong or complicate

      the sentencing proceedilrg," and the Court is authorized to

      order restitution by the defendant including, but not limited

      to, restitution for property loss, economic loss, personal

      injury, or deathi

 5    The right to proceedings free from unreasonable delayi and
                              15
 Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 16 of 31




   h. The right to be treated with fairness and with respect for
       the victim's dignity and privacy.

16. Restitution. The defendant acknowledges that, pursuant to the

   Mandatory Restitution Act of April 24, 7996, Title 18, United

   States Code, $ 36634, the Court is required in all instances to

   order fuIl restitution to all victims for the losses those victims

   have suffered as a result ofthe defendant's conduct. The

   defendant also agrees that the Government wilL seek, and the

   Court may impose an order of restitution as to victims of the

   defendant's relevant conduct. With respect to the payment of

   restitution, the defendant further agrees that, as part ofthe

   sentence in this matter. the defendant shall be responsible for

   making payment of restitution in full, unless the defendant can

   demonstrate to the satisfaction of the Court that the defendant's

   economic circumstances do not allow for the payment of fuII

   restitution in the foreseeable future, in which case the

   defendant will be required to make partial restitution

   payments. In addition to the schedule of payments that may be
                                16
Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 17 of 31




  established by the Court, the defendant understands and agrees

  that, pursuant to the Mandatory Victims Restitution Act of

  1996 and the Justice For All Act of 2004. victims of federal

  crimes are entitled to full and timely restitution. As such, these

  payments do not preclude the Government from using other

  assets or income ofthe defendant to satisfii the restitution

  obligation. The defendant understands and agrees that the

 United States Attorney's Office, by and through the Financial

  Litigation Unit, has the obligation and the right to pursue any

 legal means, including but not limited to, submission of the debt

 to the Treasury Offset Program, to collect the fuII amount of

 restitution owed to the victims in a timely fashion. Although

 the defendant may reserve the right to contest the amount of

 restitution owed, the defendant agrees to take all steps to

 facilitate collection of all restitution, including submitting to

 debtor's exams as directed by the Government. Towards this

 goal, the defendant agrees to waive any further notice of

 forfeiture and agrees that the United States may, at its sole
                              t7
Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 18 of 31




  election, elect to pursue civil or criminal forfeiture in the

  amount of the victim restitution owed in this case, and the

  Court may enter both a restitution order and a forfeiture

 judgment in the amount of any unpaid restitution found by the

  Court to be due and owing at the time of sentencing in this

 matter. The defendant consents to the frIing of any civil

 complaint or superseding information which may be necessary

 to perfect a forfeiture order and further stipulates and agrees

 that the defendant's guilty plea constitutes an admission to all

 matters legally and factually necessary for entry of a forfeiture

 order in this case. The parties agree that the Government wilI

 recommend, but cannot guarantee, that any assets recovered

 through forfeiture proceedings be remitted to crime victims to

 reduce the defendant's restitution obligation in this case. The

 defendant acknowledges that the making of any payments does

 not preclude the Government from using other assets or income

 of the defendant to satisfr the restitution obligation. The

 defendant understands that the amount of restitution
                               18
     Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 19 of 31




       calculated for purposes ofChapter 5 ofthe Sentencing

       Guidelines might be djfferent from the amount of loss calculated

       for purposes of Chapter 2 of the Sentenciag Guidelines.

   17. FulI Restitution bv Sshedule. The defendant agrees to make

       full restitution in accordance with a schedule to be determined

       by the Court.

E. Information hovided to Court and Probation Office
   18. Backeroun d Information for Prob ation Office. The defendant

       understands that the United States wiII provide to the United

       States Probation Office all information in its possession that the

       United States deems relevant regarding the defendant's

       background, character, cooperation, if any, and involvement in

       this or other offenses.

   19. Obiections to Pre-Sentence Report. The defendant understands

       that pursuant to the United States District Court for the Middle

       District of Pennsylvania's "Policy for Guideline Sentencing,"

      both the United States and defendant must communicate to the

       Probation Offrcer within 14 days after disclosure of the pre-
                                   19
Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 20 of 31




  sentence report any objections they may have as to material

  information, sentencing elassifications, applicable Sentencing

  Guidelines ranges, and policy statements contained in or

  omitted from the report. The defendant agrees to meet with the

  United States at least frve days prior to sentencing in a good

  faith attempt to resolve any substantive differences. Ifany

 issues remain unresolved, they shall be communicated to the

  Probation Officer for inclusion in an addendum to the pre'

  sentence report. The defendant agrees that unresolved

 substantive objections wilI be decided by the Court after

 briefing, a pre-sentence hearing, or at the sentencing hearing,

 where the standard or proofwilI be a preponderance ofthe

 evidence, and the Federal Rules ofEvidence, other than with

 respect to privileges, shall not apply under Fed. R. Evid.

  1101(0(3), and the Court may consider any reliable evid.ence,

 including hearsay. Objections by the defendant to the pre-

 sentence report or the Court's rulings, will not be grounds for

 withdrawal of a plea of guilty.
                              20
 Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 21 of 31




20. Relevant Sentencine Information. At sentencing, the United

   States will be permitted to bring to the Court's attention, and

   the Court will be permitted to consider, a-L1 relevant information

   about the defendant's background, character and conduct,

   including the conduct that is the subject ofthe charges that the

   United States has agreed to dismiss, and the nature and extent

   of the defendant's cooperation, if any. The United States will be

   entitled to bring to the Court's attention and the Court wilL be

   entitled to consider any failure by the defendant to fulflll any

   obligation under this Agreement.

21. Non'Limitation on Government's Resoonse. Nothing in this

   Agreement shall restrict or limit the nature or content of the

   United States' motions or responses to any motions filed on

   behalf of the defendant. Nor does this Agreement in any way

   restrict the Government in responding to any request by the

   Court for briefing, argument orpresentation ofevidence

   regarding the application of Sentencing Guidelines to the



                               2t
     Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 22 of 31




       defendant's conduct, including but not Iimited to, requests for

       information concerning possible sentencing departures.

F. Court Not Bound by PIea Aqreoment
   22. Qsvrt Not Boundbv Terms. The defendant understands that

      the Court is not a party to and is not bound by this Agreement,

      or by any recommendations made by the parties. Thus, the

       Court is free to impose upon the defendant any sentence up to

      and including the maximum sentence of 20 years in prison, a

      maximum fine of $1,000,000, a maximum term of supervised

      release oflife but at least 3 years, which shall be served at the

      conclusion of and in addition to any term of imprisonment, the

      costs ofprosecution, denial ofcertain federal benefits, and

      assessments totaling $ 100.

   23. No Withdrawal of PIea Based on Sentence or Recommetdations.

      If the Court imposes a sentence with which the defendant is

      dissatisfied, the defendant will not be permitted to withdraw

      any guilty plea for that reason alone, nor will the defendant be

      permitted to withdraw any guilty plea should the Court decline
                                    22
     Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 23 of 31




       to follow any recommendations by any of the parties to this

       Agreement.

G. Breach of Plea Agreement by Defendant
   24. Breach of Aqreement. In the event the United States belie ves

       the defendant has failed to fuIfill any obligation under this

      Agreement, then the United States shall, in its discretion, have

      the option of petitioning the Court to be relieved of its

      obligations under this Agreement. Whether the defendant has

      completely fulfilled aII of the obligations under this Agreement

       shall be determined by the Court in an appropriate proceeding,

      during which any disclosures and documents provided by the

      defendant shall be admissible, and during which the United

      States shall be required to establish any breach by a

      preponderance ofthe evidence. In order to establish any breach

      by the defendant, the United States is entitled to rely on

      statements and evidence given by the defendant during the

      cooperation phase of this Agreement, if any.


                                   oo
 Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 24 of 31




25. Remedies for Breach. The defendant and the United States

   agree that in the event the Court concludes that the defendant

   has breached the Agreement:

   a   The defendant will not be permitted to withdraw any guilty

       plea tendered under this Agreement and agrees not to

       petition for withdrawal of any guilty pleai

   b. The United States will be free to make any
       recommendations to the Court regarding sentencing in this

       c&se,

   c   Any evidence or statements made by the defendant during

       the cooperation phase of this Agreement, if any, will be

       admissible at any trials or sentencings;

   d. The United States wiII be free to bring any other charges it
       has against the defendant, including any charges originally

       brought against the defendant or which may have been

       under investigation at the time of the plea. The defendant

       waives and hereby agrees not to raise any defense to the

       reinstatement ofthese charges based upon collateral
                               24
 Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 25 of 31




       estoppel, Double Jeopardy, statute of limitations, assertion

       of Speedy Trial rights, or other similar grounds.

26. Violati on of Law While PIea or Sentence Pendins . The

   defendant understands that it is a condition of this Agreement

   that the defendant refrain from any further violations ofstate,

   Iocal, or federal law while awaiting plea and sentencing. The

   defendant acknowledges and agrees that if the Government

   receives information that the defendant has committed new

   crimes while awaiting plea or sentencing in this case, the

   Government may petition the Court and, if the Court finds by a

   preponderance ofthe evidence that the defendant has

   committed any other criminal offense while awaiting plea or

   sentencing, the Government shal1 be free at its sole election to

   either: (d withdraw from this Agreementi or (b) make any

   sentencing recommendations to the Court that it deems

   appropriate. The defendant further understands and agrees

   that, if the Court finds that the defendant has committed any

   other offense while awaiting plea or sentencing, the defendant
                              25
       Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 26 of 31




         wiII not be permitted to withdraw any guilty pleas tendered

         pursuant to this Agreement, and the government will be

         permitted to bring any additional charges that it may have

         against the defendant.

H.

     27. Depofiation/Removal from the United States. The defendant

         understands that, if defendant is not a United States citizen,

         deportation/removal from the United States is a consequence of

        this plea. The defendant further agrees that this matter has

        been discussed with counsel who has explained the immigration

        consequences ofthis plea. The defendant still desires to enter

        into this plea after having been so advised

L Appeal lilaiver
     28. Aopeal Waiver - Direct. The defendant is aware that fitle 28,

        United States Code, g 1291 affords a defendant the right to

        appeal ajudgment ofconviction and sentencei and that Titie 1g.

        United States Code, g 3742(il affords a defendant the right to

        appeal the sentence imposed. Acknowledging all of this, the
                                     26
     Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 27 of 31




       defendant knowingly waives the right to appeal the conviction

       and sentence. This waiver includes any and all possible

       grounds for appeal, whether constitutional or non-

       constitutional, including, but not limited to, the manner in

       which that sentence was determined in light of United States v.

       Booker,543 U.S. 220 e00il. The defendant further

       acknowledges that this appeal waiver is binding only upon the

       defendant and that the United States retains its right to appeal

      in this case.

J. Other Pmvisions
   29. Asreement Not Bindine on Other Aeencies. Nothine in this

      Agreement shall bind any other United States Attorney's OfEce,

      state prosecutor's offi"ce, or federal, state, or local law

      enforcement agency.

   30. No Civil Claims or Suits. The defendant agrees not to pursue or

      initiate any civil claims or suits against the United States of

      America, its agencies or employees, whether or not presently

      known to the defendant, arising out of the investigation,
                                    27
 Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 28 of 31




    prosecution or cooperation, ifany, covered by this Agreement,

    including but not limited to any claims for attorney's fees and

    other litigation expenses arising out ofthe investigation and

    prosecution of this matter. By the defendant's guilty plea in

    this matter the defendant further acknowledges that the

    Government's position in this litigation was taken in good faith,

    had a substantial basis in law and fact and was not vexatious.

3 1. Plea Asreem e   Serves Ends ofJustice . The United States is

    entering this Agreement with the defendant because this

   disposition of the matter fairly and adequately addresses the

   gravity of the offense(s) from which the charge(s) is/are drawn,

   as weII as the defendant's role in such offense(s), thereby

   serving the ends ofjustice.

32. Merser of AII Prior Ne sotiations . This document states the

   complete and only Agreement between the United States

   Attorney for the Middle District of Pennsylvania and the

   defendant in this case, and is binding only on the parties to this

   Agreement and supersedes all prior understandings or plea
                                 28
 Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 29 of 31




   offers, whether written or oral. This agreement cannot be

   modified other than in writing that is signed by all parties or on

   the record in court. No other promises or ilducements have

   been or will be made to the defendant in connection with this

   case, nor have any predictions or threats been made in

   connection with this plea. Pursuant to RuIe 11of the Federal

   Rules of Criminal Procedure, the defendant certifies that the

   defendant's plea is knowing and voluntary and is not the result

   of force or threats or promises apart from those promises set

   forth in this Agreement.

33. Defendant is Satisfied    h Assistance of Counse I. The

   Defendant agrees that the defendant has discussed this case

   and this Agreement in detail with the defendant's attorney, who

   has advised the defendant ofthe defendant's Constitutional and

   other trial and appellate rights, the nature ofthe charges, the

   elements of the offenses the United States would have to prove

   at trial, the evidence the United States would present at such

   trial, possible defenses, the advisory Sentencing Guidelines and
                               29
 Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 30 of 31




   other aspects ofsentencing, potential losses ofcivil rights and

   privileges, and other potential consequences ofpleading guilty

   in this case. The defendant agrees that the defendant is

   satisfied with the legal services and advice provided to the

   defendant by the defendant's attorney.

34. Deadline for Acceptance of PIea Aereement. The origi-nal of this

   Agreement must be signed by the defendant and defense

   counsel and received by the United States Attorney's Offi.ce on

   or before 5:00 p.m., September 8,2023, otherwise the offer may,

   in the sole discretion of the Government, be deemed withdrawn.

35. Required Sienatures. None of the terms of this Agreement shall

   be binding on the Office of the United States Attorney for the

   Middle District of Pennsylvania until signed by the defendant

   and defense counsel and then signed by the United States

   Attorney or his designee.




                               30
           Case 3:23-cr-00026-MEM Document 285 Filed 09/25/23 Page 31 of 31




                                    ACKNOWLEDGMENTS

     I have read this agreement and carefully reviewed every part ofit
with my attorney. I firlly understand it and I voluntarily agree to it.
                                                           n
q.                                                      !--l
D te                                          AMIR G           SON
                                            efendant


        I am the defendant's counsel. I have carefully reviewed every part
of this agreement with the defendant. To my knowledge, my client's
d ecr on to enter into this agreement is an informed and voluntary one.

q 1 ruJ                                     \\.^r]^.,
D ate                                      lran@rnn
                                           Counsel for Defendant




                                           GERARD M. KARAM
                                           United States Attorney

g
   zl7 )     Z                        By
Date                                       MICHELLE OLSHEFS
                                           Assistant United States Attorney


AUSAA{LO/2o23R089 Ausust 26, 2023
\''ERSION DA'IE: March 8. 2021




                                            31
